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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                     SAN FRANCISCO DIVISION

                                   7

                                   8     COREY A. SHERMAN,
                                                                                           Case No. 24-cv-07624-PHK
                                   9                    Plaintiff,

                                  10             v.                                        ORDER GRANTING-IN-PART
                                                                                           PLAINTIFF’S UNOPPOSED
                                  11     UNITED STATES DEPARTMENT OF                       ADMINISTRATIVE MOTION; CASE
                                         EDUCATION,                                        MANAGEMENT ORDER
                                  12
Northern District of California




                                                        Defendant.                         Re: Dkt. 12
 United States District Court




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                                  14                                               ORDER
                                  15          The Court is in receipt of pro se Plaintiff Corey Sherman’s unopposed Administrative

                                  16   Motion seeking to attend the Initial Case Management Conference currently set for April 8, 2024,

                                  17   remotely, or, in the alternative, seeking to continue the Initial Case Management Conference to June

                                  18   8, 2025. [Dkt. 12.] Defendant does not oppose the administrative motion and has stipulated to the

                                  19   request. Id. Plaintiff Sherman has shown good cause to continue the Initial Case Management

                                  20   Conference. As such, the Administrative Motion is GRANTED-IN-PART. The Initial Case

                                  21   Management Conference is HEREBY RESET for May 8, 2025, at 1:00 PM, in Courtroom F at the

                                  22   San Francisco Courthouse. The Parties are to file a Joint Initial Case Management Statement by

                                  23   April 24, 2025. No further extensions will be granted absent truly extraordinary circumstances.

                                  24          IT IS SO ORDERED.

                                  25   Dated: March 27, 2025

                                  26                                                   ______________________________________
                                                                                       PETER H. KANG
                                  27                                                   United States Magistrate Judge
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